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                                                               Hearing Date: 9/10//2021
                                                               Hearing Time: 10:00 a.m.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                Chapter 11
96 WYTHE ACQUISITION LLC,                             Case No.: 21-22108 (RDD)-
                           Debtor.


  REPLY IN SUPPORT OF DEBTOR’S APPLICATION FOR AN ORDER PURSUANT
   TO SECTIONS 327(A) AND 328 OF THE BANKRUPTCY CODE AUTHORIZING
       THE EMPLOYMENT AND RETENTION OF MAYER BROWN LLP AS
        CO-COUNSEL TO THE DEBTOR AND DEBTOR IN POSSESSION,
                    NUNC PRO TUNC TO AUGUST 9, 2021

         96 Wythe Acquisition LLC (the “Debtor”), by and through its undersigned proposed

counsel, hereby files this reply further in support of its Application for an Order Pursuant to

Sections 327(a) and 328 of the Bankruptcy Code Authorizing the Employment and Retention of



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Mayer Brown LLP as Co-counsel to the Debtor and Debtor In Possession, Nunc Pro Tunc to

August 9, 2021 [ECF No. 89] (the “Application”) and respectfully states as follows:

                                      PRELIMINARY STATEMENT1

         1.       The Lender’s Limited Objection Concerning Debtor’s Application to Retain Mayer

Brown LLP of Benefit Street Partners Realty Operating Partnership, L.P. (the “Lender”) [ECF

No. 92] (hereafter, the “Objection”) is the Lender’s latest litigation tactic designed to chill the

progress of the Chapter 11 Case and any actions that may challenge the Lender, even if such is in

the interests of the Debtor, its estate, and other creditors. After stating that it “does not oppose that

relief [to retain Mayer Brown LLP] in general”, the Lender in fact proceeds to “express its

concerns.” Obj., ¶ 1. In expressing its “concerns”, the Lender shows a complete disregard of the

law and the facts.

         2.       As set out in the Application and further in this reply, the Debtor submits that the

retention of Mayer Brown LLP (“Mayer Brown”) as co-counsel is in the best interests of the estate,

that the Debtor has met its burden of proof, and that the Court should overrule the Objection and

grant the relief sought in the Application. In support, the Debtor firmly disagrees with the woefully

inadequate arguments (each of which is tellingly not supported by any legal authority or relevant

fact) by the Lender. The Debtor further categorically denies the Lender’s conclusory allegations

and misrepresentation of facts, which are not only irrelevant to the instant Application, but could

have been easily avoided by a careful review of what the Debtor already had demonstrated on the

record. The Unites States Trustee has indiated its no-objection to the Application.2



1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
    Application.

2
    The Application is set for interim approval on September 10, 2021, with a final hearing set for October 6, 2021.

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        3.     On a macro level, the Debtor is seeking today to bring on a team of new advisors

(to supplement current counsel), subject to court approval, including new bankruptcy counsel and

financial advisor Hilco Real Estate and Getzler Henrich to assist in preparing for an exit from

bankruptcy. A separate application to engage Hilo Real Estate and Getzler Henrich is pending.

Operationally, despite the significant challenges to the entire hospitality sector as a result of the

COVID-19 pandemic, the Debtor has turned around the business, operating profitably and

generating nearly $550,000 in net operating profit in June 2021 alone. With respect to an exit plan,

the Debtor’s plan of reorganization, to be filed shortly, is anticipated to include the infusion of up

to $8 million in new money (coupled with the estimated cash projected on effective date of a plan,

should aggregate close to $10 million in available cash), which would form the predicate for a

Chapter 11 restructuring plan and emergence from Chapter 11 – while preserving the going

concern value of the Hotel (which is significantly greater than in a forced liquidation). The

Debtor’s plan would greatly benefit not only the Debtor but also all of its creditors, including the

mechanics and materialman, general unsecured creditors, and the mezzanine lender, who would

otherwise likely be wiped out by a forced liquidation.

                             OBJECTION IS NOT PERSUASIVE

  I.    The Lender Without Support Seeks to Limit the Scope of Retention

        4.     First, the Lender questions the progress of the case, yet seeks to block the Debtor

from putting in place a team to assist with an exit. Mayer Brown is working with the Debtor’s

team of professionals in formulating a plan of reorganization, is reviewing the Lender’s (and other)

claims, and has also reached out to the Lender to engage in a dialogue regarding, amongst other

things, the Debtor’s exit from bankruptcy. Further, while the Lender states that the Debtor has not

engaged financial advisors, the Debtor, by separate application, has sought to engage Hilco Real

Estate and Getzler Henrich as co-financial advisors.
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         5.        Second, the Lender attempts to preemptively limit the scope of engagement without

citing to any legal authority. See Obj., ¶¶ 3-6. However, notwithstanding the need for court

approval under 11 U.S.C. § 327, a debtor-in-possession has the “inherent right . . . to employ the

counsel of their choice” without interference from creditors.                         In re Diamond Mortgage

Corporation of Illinois, 135 B.R. 78, 92 (Bankr. N.D.Ill. 1990); see In re Magna Prod. Corp., 251

F.2d 423, 424 (2d Cir. 1958). “Only in the rarest cases should the trustee be deprived of the

privilege of selecting his own counsel”, for “[t]he relationship between attorney and client is highly

confidential, demanding personal faith and confidence in order that they may work together

harmoniously.” In re Mandell, 69 F.2d 830, 831 (2d Cir. 1934) (quoted by In re Smith, 507 F.3d

64, 71 (2d Cir. 2007)); In re Codesco, Inc., 18 B.R. 997, 999-1000 (Bankr. S.D.N.Y. 1982) (ruling

that former counsel to creditors’ committee may be appointed to represent the chapter 7 trustee).

         6.        In addition, the Lender improperly seeks to bar any investigation into its actions,

claims, and liens, stating that retention should effectively bar or limit prosecution (and presumably

defense) of any claims by or against the Lender.3 Such position, if adopted, would be an abdication

of the Debtor’s powers and rights as the debtor-in-possession without due process. Further, the

Lender also seeks to argue the merits of claims now before the court, erroneously and summarily

asserting that its claim may not be challenged (and that there are no claims of any type or nature

against Lender) while in the same breath arguing that the Debtor should not be able to look into

any such claim. In fact, the only carve-out provided by the Lender to investigate the extent,




3
    The Debtor is reviewing whether Lender’s liens are properly perfected, as well as the extent, validity, and
    priority of Lender’s claim, in particular, given additional and continuing claims for default rate interest, Lender’s
    conduct, that a large portion of default interest and fees arose when the hospitality market was virtually shut
    down due to the COVID-19 pandemic, amongst other things.

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validity, and priority of its claims, was limited to $10,000.4 The Lender’s arguments are baseless,

and run contrary to the Debtor’s obligations to the estate and all creditors.

         7.        As to the scope of services, the Application makes clear that Mayer Brown intends

to work as “co-counsel in this chapter 11 case.” App., ¶ 6. The Application further states that

Mayer Brown was engaged by the Debtor because of its experience in complex bankruptcy and

restructuring matters and its extensive expertise with complex bankruptcy and litigation issues.

App., ¶ 11.

         8.        The scope of services, as detailed in the Application, primarily concerns providing

counsel regarding: complex bankruptcy and litigation matters relating to the Debtor’s exit from

chapter 11; negotiation (and if not resolved, any litigation) concerning the extent, validity, and

priority of the Lender’s claims and liens; proceedings regarding the confirmation of the Debtor’s

plan of reorganization; and any attendant litigation regarding the foregoing. Further, despite the

Lender’s efforts to spin this as a small and unimportant case, upon information and belief, the

Hotel has a value in excess of $100 million, with dozens of other creditor holding millions of

dollars in additional claims.

         9.        Accordingly, since its engagement, Mayer Brown has focused its efforts on the

Chapter 11 Case. To date, the proposed co-counsel has been, among other things, getting up to

speed on the background of the case as well as identifying legal issues, communicating with

various stakeholders, formulating an exit strategy and a proposed plan of reorganization (which

the Debtor intends to file well in advance of the expiration of its exclusivity period of October 21,

2021), reviewing the claims (including the Lender’s claim), and assisting the Debtor in its now-



4
    Under the interim cash collateral orders entered in the Chapter 11 Case, there is no carve out for estate
    professionals, and only a $10,000 carve out for a trustee, if any.

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filed proposed retention of its financial advisors (which information the Debtor previewed but the

Lender conveniently ignored).       App., ¶ 13 (“the Debtor expects to submit shortly separate

applications to retain financial advisor(s)”); Obj., ¶ 6 (“the Debtor has inexplicably failed to retain

a financial professional”).

 II.    The Lender Attempts to Mislead the Court Ignoring the Debtor’s Representation on
        the Record

        10.    In the Objection, the Lender also makes misleading factual allegations that would

be invalidated even by a cursory review of the Application. Due to the sensitive nature of the

allegations, the Debtor is compelled to reiterate what it has already represented in the Application.

        11.    The Lender accuses the Debtor of being wasteful with the retention of Mayer

Brown despite multiple reassurances throughout the Application and the Spelfogel Declaration

that Mayer Brown will be rendering its professional services alongside the main counsel in a non-

duplicative, complementary, and efficient manner. See App., ¶¶ 6-9, 13, 17; see Spelfogel

Declaration ¶ 4.    Here, the Lender spends much time asserting that the proposed retention of

Mayer Brown would be duplicative. This Lender’s assertion ignores the fact that the U.S. Trustee

encourages debtors to retain co-counsel to perform services under the Appendix B Guidelines.

App., ¶ 7.

        12.    The Lender’s accusation fails for many of the same reasons. Rather than properly

address the Application, the Lender sets aside the representations made in the Application

altogether and resorts to making a series of incorrect, misleading factual allegations in a conclusory

manner. An example of this is the Lender’s mischaracterization of counsel who have appeared in

the Chapter 11 Case. See Obj., ¶¶ 2-3. Jason A. Nagi of Offit Kurman P.A., referred in the

Objection, was counsel in the state action court and described himself as proposed special counsel

in certain filings before the Court. Before his retention application could be filed, however, the

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decision was made to retain another firm as counsel. The other counsel, David McGrail of McGrail

& Besinger LLP, referred to in the Objection as counsel that appeared prior to Mr. Nagi, in fact

did some work in anticipation of replacing Mr. Nagi and similarly described himself as proposed

special litigation counsel, but soon after declined the engagement. None of the counsels made a

notice of appearance or a retention application; in fact, Mayer Brown is the second group of

professionals to formally appear and submit a retention application on behalf of the Debtor.

Contrary to what the Lender will lead the Court to believe, the Debtor has seen meaningful

progress, including the ongoing formulation of the term sheet and plan of reorganization, since the

commencement of the Chapter 11 Case. As such, the Debtor submits that the retention of Mayer

Brown as co-counsel will not be duplicative but in fact be in the best interests of the estate.

        13.    Further, the Lender argues that Mayer Brown’s fee should not be paid from cash

collateral when the Debtor is not seeking to request that Mayer Brown’s fees be paid from the cash

collateral budget at this time. Obj., ¶ 7. The Lender may reserve its rights to object to the use of

cash collateral at a later time when the Debtors actually seek such relief.

        14.    Lastly, to the extent there are any claims belonging to the estate that need to be

investigated, the Debtor, with the advice of counsel, as fiduciary of the estate. is undoubtedly best-

positioned to investigate and prosecute claims on behalf of the estate. Even if the Lender were to

argue that an alternate fee arrangement weighs in favor of limiting the scope of engagement – to

be clear, the Lender does not make any substantive argument whatsoever in the Objection – the

law is well-established in the Second Circuit that a compensation to a debtor’s counsel from a third

party does not in it and of itself create an interest adverse to the estate. See In re Lan Dan




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Enterprises, 211 B.R. 93, 96 (Bankr. S.D.N.Y. 1998) (citing a five-factor test to determine whether

compensation to the debtor’s counsel to a third party is an impermissible conflict of interest).56

                                                       CONCLUSION

         15.      In sum, the Objection is a poorly veiled attempt by the Lender to take another jab

at the Debtor at the expense of the estate and all stakeholders who must continue to endure and

indirectly bear the expense of defending against the Lender’s exceedingly aggressive litigation

tactics. Contrary to what the Lender argues without any legal or factual support, the proposed

retention of Mayer Brown is in the best interests of the estate, and the Debtor has overwhelmingly

carried its burden of proof in all respects. As such, the Debtor respectfully requests that the Court

enter an order granting the relief requested in the Application and such other and further relief as

may be just and proper.



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    While there is no burden on the Debtor to rebut an argument that the Lender failed to make, the Debtor submits,
    for the Court’s consideration, that the factors in In re Lan Dan Enterprises have been met here. Further, Heritage
    Equity Partner (“HEP”) and the Debtor have acknowledged that Mayer Brown does not represent HEP and only
    represents the Debtor consistent with factors set out in In re Lan Dan, 221 B.R. at 96. See Spelfogel Declaration
    ¶¶ 7-16

6
    The Lender also objects to any claim by HEP for reimbursement of monies advanced for legal fees and expenses
    under the engagement. As provided in the Application, no claim has been filed, and while HEP reserves the
    right to file such, the Application expressly provides (and the order approving the Application may so provide),
    that any party expressly reserves the right to object to any such claim, if any.

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Dated: New York, New York
       September 7, 2021             MAYER BROWN LLP

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